     Case 2:12-cr-00016-WFN   ECF No. 237   filed 06/25/12   PageID.678 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,              )
 6                                            )     No. CR-12-016-WFN-7
                        Plaintiff,            )
 7                                            )     ORDER GRANTING IN PART
       v.                                     )     DEFENDANT’S MOTION FOR
 8                                            )     RECONSIDERATION OF DETENTION
       TYLER S. McKINLEY,                     )
 9                                            )
                        Defendant.            )
10                                            )

11    Date of Motion to modify hearing: June 25, 2012.

12          IT IS ORDERED Defendant’s Motion to modify (ECF No. 229) is

13    GRANTED in part with regard to travel. Defendant may travel outside

14    Washington for employment purposes and with his family, provided,

15    however, the requests are to be made through Pretrial Services.

16    Pretrial Services is given the discretion to give travel permission

17    without the necessity of Defendant filing a motion.

18          The request to stop random UAs, to use alcohol, and to possess

19    firearms is taken under advisement pending review of a copy of

20    Defendant’s assessment.

21          DATED June 25, 2012.

22
23                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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28
      ORDER GRANTING IN PART DEFENDANT’S
      MOTION FOR RECONSIDERATION OF DETENTION -              1
